                           Case 20-03841        Doc 23-4    Filed 06/04/20 Entered 06/04/20 13:41:00      Desc Payment
                                                                  History Page 1 of 1


Name:               Ruby J. Adams
                                                   EXHIBIT A
BK Case Number:     20-03841
Filing Date:        2/11/2020
Post First Due:     3/1/2020                                                                             Completed By:      Avinash
Post-Petition Due   Date Received         Amount Received      Amount Applied     Suspense Application   Suspense Balance   Comments
                                                       No Payments Received
                                                      LOAN IS POST DUE FOR 3/1/2020
                                                                                 NOPC Filed Date
Due Date           Total Payment          P&I                  Escrow
          3/1/2020 $             584.41   $            236.25 $          348.16
          4/1/2020 $             584.41   $            236.25 $          348.16
          5/1/2020 $             584.41   $            236.25 $          348.16
                   $                -
Total Due          $           1,753.23   $           708.75 $         1,044.48
